                                                            Case 2:19-cv-02850-DMG-JC Document 23 Filed 07/17/19 Page 1 of 3 Page ID #:64




                                                                 1   HYUNSUK ALBERT CHANG, ESQ. (SBN 206270)
                                                                     Email: albertchang@aclawfirm.net
                                                                 2   GRACE HYOJUNG JANG (SBN 302640)
                                                                     Email: gracejang@aclawfirm.net
                                                                 3   LAW OFFICES      OF ALBERT CHANG
                                                                     1225 W. 190th Street, Suite 420
                                                                 4   Gardena, CA 90248
                                                                     Telephone: (310) 769-6836
                                                                 5   Facsimile: (310) 769-6787
                                                                 6
                                                                     Attorneys for Plaintiff TEXKHAN, INC., a California Corporation,
                                                                 7   dba HYUP SUNG T.R.D.
                                                                 8

                                                                 9                       UNITED STATES DISTRICT COURT
                                                                10                     CENTRAL DISTRICT OF CALIFORNIA
                                                                11
                                                                     TEXKHAN, INC., a California         )   Case No. 2:19-cv-02850-DMG-JC
LAW OFFICES OF ALBERT CHANG




                                                                12
                                                                                                         )
                                                                     Corporation, individually and doing
                              1225 W. 190th Street, Suite 420




                                                                                                         )   Honorable Dolly M. Gee Presiding
                                Gardena, California 90248




                                                                13   business as HYUP SUNG T.R.D.,       )
                                                                                  Plaintiff,             )
                                     (310) 769-6836




                                                                14
                                                                                                         )
                                                                                                         )   STIPULATION FOR DISMISSAL
                                                                15          vs.                          )
                                                                                                         )   AS TO DEFENDANT DMW
                                                                16
                                                                                                         )   DRESSES, LLC FORMERLY
                                                                     EN CREME, an unknown business       )
                                                                17
                                                                                                         )   KNOWN AS PROMGIRL, LLC
                                                                     entity; POSHMARK, INC., a Delaware )    PURSUANT TO FED. R. CIV. P.
                                                                18   Corporation, doing business as      )
                                                                                                         )   41(a)(1)(A)(ii)
                                                                     POSHMARK; PROMGIRL, LLC, a          )
                                                                19
                                                                     New York Limited Liability Company, )
                                                                20   doing business as THISGIRL; and     )
                                                                                                         )
                                                                     DOES 1 through 50,                  )
                                                                21
                                                                                                         )
                                                                                 Defendants.             )
                                                                22
                                                                                                         )
                                                                23
                                                                                                         )
                                                                                                         )
                                                                24
                                                                                                         )
                                                                                                         )
                                                                25
                                                                                                         )
                                                                                                         )
                                                                26

                                                                27

                                                                28

                                                                         STIPULATION FOR DISMISSAL AS TO DEFENDANT DMW DRESSES, LLC
                                                                                     FORMERLY KNOWN AS PROMGIRL, LLC
                                                                                                           -1-
                                                            Case 2:19-cv-02850-DMG-JC Document 23 Filed 07/17/19 Page 2 of 3 Page ID #:65




                                                                 1         WHEREAS, Plaintiff TEXKHAN, INC. dba HYUP SUNG T.R.D.
                                                                 2   (“Plaintiff”) and Defendant DMW DRESSES, LLC formerly known as
                                                                 3   PROMGIRL, LLC (“Defendant”) (Plaintiff and Defendant are also collectively
                                                                 4
                                                                     referred to as the “Parties”) have reached a resolution of all claims at issue in this
                                                                 5
                                                                     action;
                                                                 6
                                                                           WHEREAS, Plaintiff now wishes to voluntarily dismiss its action with
                                                                 7
                                                                     prejudice as to Defendant DMW DRESSES, LLC formerly known as
                                                                 8
                                                                     PROMGIRL, LLC only;
                                                                 9
                                                                           WHEREAS, this dismissal will resolve this action as to Defendant DMW
                                                                10
                                                                     DRESSES, LLC formerly known as PROMGIRL, LLC only;
                                                                11
                                                                           IT IS HEREBY STIPULATED by the Parties, through their counsels of
LAW OFFICES OF ALBERT CHANG




                                                                12
                              1225 W. 190th Street, Suite 420
                                Gardena, California 90248




                                                                     record, as follows:
                                                                13
                                     (310) 769-6836




                                                                14
                                                                           1. This action is to be dismissed with prejudice as to Defendant DMW

                                                                15
                                                                               DRESSES, LLC formerly known as PROMGIRL, LLC, and any

                                                                16             successor in interest, including Occasion Brands, LLC only; and
                                                                17         2. Each party is to bear its own costs and attorney’s fees as incurred against
                                                                18             one another.
                                                                19

                                                                20         IT IS SO STIPUALTED.
                                                                21

                                                                22   Date: July 17, 2019                     LAW OFFICES OF ALBERT CHANG
                                                                23

                                                                24                                    By:    /s/ Hyunsuk Albert Chang
                                                                                                             Hyunsuk Albert Chang
                                                                25
                                                                                                             Attorneys for Plaintiff TEXKHAN, INC.,
                                                                26                                           dba HYUP SUNG T.R.D.
                                                                27

                                                                28

                                                                         STIPULATION FOR DISMISSAL AS TO DEFENDANT DMW DRESSES, LLC
                                                                                     FORMERLY KNOWN AS PROMGIRL, LLC
                                                                                                               -2-
                                                            Case 2:19-cv-02850-DMG-JC Document 23 Filed 07/17/19 Page 3 of 3 Page ID #:66




                                                                 1
                                                                     Date: July 17, 2019            VOS-IP, LLC.
                                                                 2

                                                                 3                            By:   /s/ Kyle Vos Strache
                                                                                                    Kyle Vos Strache
                                                                 4
                                                                                                    Attorney for Defendant DMW DRESSES,
                                                                 5                                  LLC formerly known as PROMGIRL, LLC
                                                                 6

                                                                 7

                                                                 8

                                                                 9

                                                                10

                                                                11
LAW OFFICES OF ALBERT CHANG




                                                                12
                              1225 W. 190th Street, Suite 420
                                Gardena, California 90248




                                                                13
                                     (310) 769-6836




                                                                14

                                                                15

                                                                16

                                                                17

                                                                18

                                                                19

                                                                20

                                                                21

                                                                22

                                                                23

                                                                24

                                                                25

                                                                26

                                                                27

                                                                28

                                                                         STIPULATION FOR DISMISSAL AS TO DEFENDANT DMW DRESSES, LLC
                                                                                     FORMERLY KNOWN AS PROMGIRL, LLC
                                                                                                      -3-
